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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

FLORENCE WALLACE, et al.,                :   CIVIL ACTION NO. 3:09-CV-286
                                         :
                   Plaintiffs            :   (Judge Conner)
                                         :
            v.                           :
                                         :
ROBERT J. POWELL, et al.,                :
                                         :
                   Defendants            :

                                     ORDER

      AND NOW, this 16th day of August, 2022, after a bench trial in this matter to

assess damages against defendants Mark A. Ciavarella and Michael T. Conahan,

and for the reasons set forth in the accompanying memorandum, it is hereby

ORDERED that:

      1.    Judgment is ENTERED in favor of the plaintiffs listed in the court’s
            Damages Appendix against Ciavarella and Conahan in the amount of
            $106,296,945.53 in compensatory damages.

      2.    Punitive damages are assessed against Conahan and Ciavarella in the
            amount of $100,000,000.00.

      3.    Any motion for attorney’s fees must be made within fourteen (14) days
            of the date of this order pursuant to Federal Rule of Civil Procedure
            54(d).


                                      /S/ CHRISTOPHER C. CONNER
                                      Christopher C. Conner
                                      United States District Judge
                                      Middle District of Pennsylvania
